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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                               CASE NO. 9:16-cv-81758-WPD/LSS

    HAN NGOC LE,

          Plaintiff,

    vs.

    ANTHONY VINCE’ NAIL SPA, LLC,
    a Florida limited liability company,
    HOANG L. NGUYEN, individually, and
    TRONG TANG, individually,

          Defendants.
    _____________________________________/

                       NOTICE OF SERVING PLAINTIFF’S ANSWERS TO
                       DEFENDANTS’ FIRST SET OF INTERROGATORIES

          COMES NOW, the Plaintiff, HAN NGOC LE, by and through her undersigned counsel, and

    hereby gives notice of serving her Answers to the Defendants’ First Set of Interrogatories

    propounded by Defendants on or about March 13, 2017.

                                             Respectfully submitted,

                                             CHRISTOPHER J. RUSH & ASSOCIATES, P.A.
                                             Attorneys for Plaintiff
                                             Compson Financial Center, Suite 205
                                             1880 North Congress Avenue
                                             Boynton Beach, FL 33426
                                             561-369-3331
                                             561-369-5902 (fax)
                                             E-mail: crush@crushlawfl.com
                                             E-mail: eservice@crushlawfl.com

                                             By            /s/ Christopher J. Rush
                                                    Christopher J. Rush (FBN 621706)
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                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 14th day of April, 2017, I served Plaintiff’s Answers to

    Defendants’ First Set of Interrogatories via E-Mail and U.S. Mail to:

    Frank H. Henry, Esquire
    Daniel Gonzalez, Esquire
    BLUEROCK LEGAL, P.A.
    Counsel for Defendants AVNS and HLN
    10800 Biscayne Boulevard, Suite 410
    Miami, FL 33161
    305-981-4300
    305-981-4304 (fax)
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                                                 CHRISTOPHER J. RUSH & ASSOCIATES, P.A.
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                                                 E-mail: eservice@crushlawfl.com

                                                 By       /s/ Christopher J. Rush
                                                        Christopher J. Rush (FBN 621706)
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                                        INTERROGATORIES


    1.    Describe in detail Plaintiff’s compensation from Anthony Vince’ Nail Spa, LLC ("AVNS"),
          including base salary, commissions, tips, profit sharing, benefits, bonuses, expense accounts,
          reimbursements, and any other remuneration paid to Plaintiff by AVNS or from any other
          source, or on Plaintiff's behalf, and state the amounts of each form of compensation from
          September 2011, to September 2015.

          ANSWER:        I was paid every two weeks on a commission basis. Initially in 2013, I was
                         paid a commission based on 55 percent for me and 45 percent for AVNS split
                         for every client I served. In 2014, it was increased to a 60 percent for me 40
                         percent for AVNS. I also received tips. If I received cash tips, I was able to
                         keep them all, however, if the client paid with a debit/credit card, then AVNS
                         kept 10 percent of the tip. I received no benefits and no bonuses.




    2.    Describe in detail the factual basis relied upon in support of the allegations in Paragraph 7
          of the Amended Complaint which states that “Defendant and management, at all times
          material hereto, regularly exercised the authority to hire and fire employees, determine the
          work schedules of employees, set the rate of pay of employees, and/or control the finances
          and operations of Defendant.”

          ANSWER:        I was hired and fired by Trong Tang. Trong Tang assigned me my work
                         station when I started working there. There was a store manager, Jimmy
                         Nguyen, who helped Trong Tang run the day to day operations of AVNS.
                         Trong Tang gave me instructions as to how he wanted me to do the job such
                         as how to treat customers; where to find tools and supplies needed to serve
                         clients; how to clean the pedicure chair and station; how to clean my station;
                         and how to sanitize all equipment and tools. Trong Tang would set the work
                         schedules for all employees. It was the same schedule every week. Trong
                         Tang would also authorize any days off or time off, but I had to request time
                         off in advance. He would also call me to come to work to cover for any other
                         employees if they had called in sick on my day off. Also, Trong Tang would
                         give me my pay on payday and would make any deductions from my pay at
                         his discretion.
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    3.    Describe in detail Plaintiff’s work schedule with AVNS including the number of hours
          worked each week, the person at AVNS who set the schedule, and Plaintiff’s ability to set
          her own hours.

          ANSWER:        My schedule was Wednesday through Sunday from 9:30 a.m., to 8:00 p.m.,
                         and on occasion, I would come in on days off to cover for other employees
                         who were unable to work when scheduled. Trong Tang set the schedule for
                         all employees. I had no input on setting my own hours. Any time off I
                         requested had to be requested at least one week in advance and had to be
                         approved by Trong Tang.




    4.    Identify all places where Plaintiff worked for the last ten years whether as a contractor,
          employee, owner, or in any other capacity, and the dates that Plaintiff worked
          there(beginning and ending date).

          ANSWER:        a.     Larmer Nail Salon at the Wellington Mall from October 2016 to the
                                present.

                         b.     Oxygenix Nail Salon in Boynton Beach from August 2015 to October
                                2016.

                         c.     Anthony Vince Nail Spa in Wellington from approximately March 1,
                                2012 to August 2014.

                         d.     In June 2011, I came to the United States. In my country I used to
                                work in marketing for approximately five years as an employee.
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    5.    Describe in detail Plaintiff’s training, testing, certification, and licensing to become a nail
          technician, all nail technician training that Plaintiff received prior to working at AVNS, and
          all nail technician training that Plaintiff received while working at AVNS.

          ANSWER:        I was required to take a course that lasted approximately six months at VIP
                         Beauty School in Margate, Florida. I took testing and got my certification as
                         a nail technician. While at Anthony Vince Nail Spa, if Trong Tang had a new
                         product he wanted me to use, he would give me directions on how to use it.




    6.    List all supervisors that Plaintiff reported to while working at AVNS and for each, describe
          their oversight of Plaintiff including their control of the manner and means in which Plaintiff
          performed nail services and beauty services.

          ANSWER:        See my answer to Interrogatory No. 2. Trong Tang was my main supervisor.
                         Jimmy Nguyen was the store manager. Occasionally, Hoang L. Nguyen and
                         his wife Victoria would be at AVNS, and Victoria would tell me how to do
                         my job, and she even reprimanded me if she didn’t like how I was performing
                         my job.
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    7.    Describe in detail any rules and regulations for nail technicians set by AVNS while Plaintiff
          worked at AVNS.

          ANSWER:        Do not talk to coworkers in Vietnamese in front of customers; English only
                         allowed in front of store.

                         Always had to wear black uniforms.

                         Clean and sanitize her manicure and pedicure stations; sanitize tools every
                         time.

                         Had to serve clients within a specified time period. Trong Tang would time
                         us.

                         Only take a break when there were no customers in the store.

                         Never take or give phone numbers to clients.

                         If no customers were in the salon, we had to wait in the back room.

                         All materials had to be put in a box in a ziplock bag to show client everything
                         was sanitized.




    8.    Describe in detail Plaintiff’s personal investments in her nail technician work including any
          tools, equipment, dues, taxes, license fees, clothing, and advertising that Plaintiff purchased
          for her nail technician work.

          ANSWER:        I had to purchase uniforms, and AVNS required them to be black pants, black
                         polo shirt or black tee shirt. I also had to purchase my drill machine; gloves;
                         nail cutters; nail polish; and mask. I was responsible for paying my annual
                         license fees.
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    9.    Describe in detail Plaintiff’s compensation received from sources other than AVNS
          including, but not limited to, any compensation received from nail technician work from
          September 2011 through September 2015.

          ANSWER:       Nail Trenz’D in Raleigh, North Carolina. I worked there in 2013 but I cannot
                        remember how many weeks I was there. I had asked Trong Tang for
                        permission to work there temporarily.




    10.   Describe in detail the damages sought by Plaintiff for her claim under the FLSA including
          whether the damages constitute compensatory, punitive, or liquidated damages, the amount
          within each such category of damages, and the total amount of damages.

          ANSWER:       Overtime wages. Without timekeeping records, I cannot provide exact
                        records as to how much overtime I am owed. I want the same amount in
                        liquidated damages for willful violations and attorney’s fees and costs.
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    11.   Describe in detail the damages sought by Plaintiff for her claim under 26 U.S.C. § 7434,
          including whether the damages constitute statutory damages, actual damages, and/or
          attorney’s fees and costs, the amount of damages within each such category, and the total
          amount of damages.

          ANSWER:       $5,000 in statutory damages and attorney’s fees and costs as per 26 U.S.C.
                        § 7434.




    12.   Identify any and all documents that Plaintiff claims were filed in violation of 26 U.S.C.
          § 7434, and as to each such document, identify what information on the document was
          “fraudulent” within the meaning of the statute.

          ANSWER:       Defendant fraudulently filed 1099-MISC reports with the IRS. I do not
                        dispute the amount that appears, but I was an employee and Defendant was
                        fraudulently reporting me as an independent contractor.
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    13.   Describe in detail the factual basis relied upon in support of Plaintiff’s contention in
          Paragraph 30 of the Amended Complaint that “Defendant AVNS knew that Plaintiff was an
          employee of its business rather than an independent contractor.”

          ANSWER:       Because I was an employee who was under the control and supervision of
                        AVNS, I should not have been paid as an independent contractor. When I
                        was hired by Trong Tang, he told me this is how they worked. I did not know
                        back then that AVNS had to pay a portion of my social security and Medicare
                        taxes as well as unemployment benefits.




    14.   Describe in detail the factual basis relied upon in support of Plaintiff’s contention in
          Paragraph 30 of the Amended Complaint that Defendant AVNS’s filing of allegedly
          fraudulent form 1099-MISC was “willful.”

          ANSWER:       I believe they were doing it to avoid having to pay social security taxes and
                        Medicare taxes and unemployment benefits for employees and maybe to pay
                        less workers’ compensation insurance.
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    15.   List the names and addresses, if known, of all witnesses that have knowledge or information
          regarding the allegations in the Amended Complaint.

          ANSWER:        Tina Ngo; address unknown but should be in the possession of Defendant.

                         Jimmy Nguyen; address unknown but should be in the possession of
                         Defendant.

                         Eric Nguy; address unknown but should be in the possession of Defendant.

                         Trul Tifany; address unknown but should be in the possession of Defendant.

                         Sam Nguyen (Samantha); address unknown but should be in the possession
                         of Defendant.

                         Jessica (Eric’s wife); address unknown but should be in the possession of
                         Defendant.

                         Nick (last name unknown); address unknown but should be in the possession
                         of Defendant.

                         Bao (last name unknown); address unknown but should be in the possession
                         of Defendant.

                         Trans Jenny (last name unknown); address unknown but should be in the
                         possession of Defendant.
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                                      UNITED STATES DISTRICT COURT
                                  FOR THE SOUTHERN DISTRICT OF FLORIDA
                                        WEST PALM BEACH DIVISION

                               CASE NO. 16-81758-CIV-DIMITROULEAS/Snow

    HAN NGOC LE,

           Plaintiff,
    v.

    ANTHONY VINCE NAIL SPA, LLC,
    A Florida Limited Liability Company,
    HOANG L. NGUYEN, individually, and
    TRONG TANG, individually,

          Defendants.
    _____________________________________/

          DEFENDANT’S RESPONSE TO PLAINTIFF’S FIRST INTERROGATORIES

           The Defendant, Anthony Vince Nail Spa, LLC (“AVNS”), by and through its undersigned

    counsel, BlueRock Legal P.A., hereby serves this Response to Plaintiff’s First Interrogatories.

           1.      Set forth for every workweek (a) the number of hours you contend were worked by

    Plaintiff during her employ; (b) if the amount of hours worked listed by Plaintiff are less than those

    specified by the time cards and records, explain the differences in the hours and the reason therefor;

    (c) the amount paid Plaintiff; (d) whether any overtime was paid and, if so, how much; and (e) the

    deductions made from pay and the reasons for the deductions.                          Identify each person with

    knowledge of these facts and identify each document related to these facts.

           ANSWER:

           AVNS did not maintain time cards or time records for Plaintiff. AVNS cannot say with

    precision the number of hours that Plaintiff worked each week. The amount paid to Plaintiff each

    week can be gleaned from the payroll records at Bates Nos. AVNS000058-000375, and the burden


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    to review the documents is the same on Plaintiff as it is on Defendants. Fed. R. Civ. P. 33(d)

    (permitting a party to produce business records in response to an interrogatory if the burden of

    ascertaining the answer from the documents is substantially the same for either party). Plaintiff

    was not paid on an hourly rate and was only paid commission, tips, and a Christmas bonus.

    Therefore, Plaintiff was not paid an additional amount for hours worked in excess of 40 a week.

           AVNS occasionally deducted $5.00 for a cleanup fee. AVNS would clean Plaintiff’s work

    station and charged Plaintiff $5.00. Plaintiff often received tips through credit card payments,

    instead of in cash. AVNS would add the amount of Plaintiff’s tips that were paid by credit card

    and pay that amount to Plaintiff in a check. The $5.00 fees were deducted from this check.

    Sometimes Plaintiff received tips only in cash. When this occurred, I charged Plaintiff $5.00 for

    the cleanup fee. AVNS also deducted 7% from Plaintiff’s tip amounts for tips that customers paid

    with credit card. This 7% charge was not retained by AVNS, but was a fee from the credit card

    companies for using their service for customers who paid tips with credit cards.

           If Plaintiff did a poor job in servicing a customer, the customer would complain about the

    poor job. AVNS would offer to perform the service again for the customer free of charge. The

    lost revenue from the free service would be deducted from Plaintiff’s commission.

           2.      Set forth in detail the method by which Defendant paid Plaintiff including, but not

    limited to, the type of payment (hourly, salary, etc.), the number of hours the pay was to

    compensate Plaintiff, how deductions were handled, the number of sick days available to Plaintiff

    and the conditions to take such sick pay, how overtime would be paid, if any, and how the pay for

    which would be calculated. Identify each person with knowledge of these facts and identify each

    document related to these facts.

           ANSWER:

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           AVNS paid Plaintiff entirely on commissions, tips, and a Christmas bonus, throughout her

    period of working for AVNS. Plaintiff was paid 55% of the revenue that she generated from her

    nail technician services as commissions during her first year at AVNS, which was from February,

    2012, to February, 2013. From March, 2013, to August, 2014, Plaintiff was paid 60% of the

    revenue that she generated from her nail technician services as commissions. Plaintiff also

    received tips from customers and the amount of her tips fluctuated from day to day. Customers

    could pay Plaintiff tips in cash or by credit card. For the tips that were paid with credit card, I

    added the total amount of the tips for each pay period and, after deducting 7% for credit card fees,

    I added the amount to Plaintiff’s paycheck. Plaintiff did not report to AVNS the amount of her

    tips that she took in cash. Plaintiff was also paid Christmas bonuses. I do not remember the exact

    amount of the Christmas bonuses but it was a few hundred dollars. See Interrogatory #1 for a

    description of the deductions.

           Plaintiff always set her own schedule. She was free to take time off at any time for sickness

    or for any other reason. As Plaintiff was paid on commissions, tips, and a Christmas bonus, all

    time off was unpaid because she was not performing any services for customers.

           3.      Identify each person who supervised Plaintiff during her employment with

    Defendant.

           ANSWER:

           The persons who managed the location where Plaintiff worked were Hoang Nguyen, Trong

    Tang, and Jimmy Nguyen. However, they were not “supervisors” to Plaintiff in the traditional

    sense, as neither controlled the means by which Plaintiff completed her work or controlled

    Plaintiff’s work schedule.



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           4.      Set forth in detail the normal operating hours for Defendant for each day of the

    week of Plaintiff’s employment. If there have been any changes in the normal operating hours,

    describe each change and the date the change occurred.

           ANSWER:

           The normal operating hours in 2012, 2013, and 2014, was 9:30 a.m. to 8:00 p.m. from

    Monday through Saturday. On Sunday, the normal operating hours were 11:30 a.m. to 5:00 p.m.

    There were no changes to the normal operating hours in 2012, 2013, or 2014.

           5.      Please state the dates you asked Plaintiff to work overtime detailing who asked

    Plaintiff to work overtime and for what reason.

           ANSWER:

           Plaintiff was never asked to work overtime. Plaintiff always set her own schedule and was

    always free to come and go as she pleased.

           6.      Did Plaintiff have use of a company vehicle? If so, (a) did Plaintiff use the company

    vehicle off hours (i.e. driving to and from work); (b) did Plaintiff have permission to do so; and

    (c) who gave Plaintiff permission to use the company vehicle off hours?

           ANSWER:

           Plaintiff was not provided a company vehicle.

           7.      Did Plaintiff have use of any other company equipment (i.e., cell phone)? If so, did

    Plaintiff use the company equipment off hours? Did Plaintiff have permission to use the company

    equipment off hours? Did Plaintiff reimburse the company for the use of the company equipment?

           ANSWER:

           Plaintiff was provided with a pager which AVNS used to occasionally page Plaintiff when

    she was to working to ask her if she wanted to work. Plaintiff was never required to work and was

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    free to refuse the request to work. As the intent of the pager was to contact Plaintiff when she was

    not working, Plaintiff had permission to use the pager when she was not working. Plaintiff was

    not charged for use of the pager, but Plaintiff was asked to return the pager after she stopped

    working at AVNS.



           8.       Provide the names, addresses and subject matter of all witnesses who have

    knowledge of the facts of the allegations of this matter.

           ANSWER:

                •   Plaintiff
                    c/o Counsel for Plaintiff

                    As Plaintiff in this case, Han Ngoc Le has knowledge regarding all matters in the
                    Amended Complaint, including her job duties, level of education, work schedule,
                    investments in her work, compensation, IRS tax filings, among other matters.

                •   Hoang L. Nguyen
                    c/o Counsel for Defendant

                    As Defendant in this case, Mr. Nguyen has knowledge regarding all matters in the
                    Amended Complaint, including Plaintiff’s job duties, work schedule,
                    compensation, IRS tax filings, among other matters.

                •   Trong Tang
                    c/o Counsel for Defendant

                    Ms. Trang has knowledge regarding all matters in the Amended Complaint,
                    including Plaintiff’s job duties, work schedule, compensation, IRS tax filings,
                    among other matters.

                •   Jimmy Nguyen

                    Jimmy Nguyen was a manager at the location where Plaintiff worked. He left
                    AVNS about two years ago. I do not know his current address. The last known
                    address for him is 1356 The 12th Fairway, Wellington, FL 33414.




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           9.      Describe in detail the compensation Defendant paid to Plaintiff including base

    salary, commissions, tips, profit sharing, benefits, bonuses, expense accounts, reimbursements,

    and any other remuneration paid by Defendant to Plaintiff or from any other source or on

    Defendant’s behalf, and state the amounts of each form of compensation from September 2011 to

    September 2015.

           ANSWER:

           See Response to Interrogatory #2 for a description of Plaintiff’s compensation. Plaintiff

    was paid a total of $19,423.54 in 2012, of which $17,902.25 was commission and $1,521.29 was

    tips. Plaintiff was paid $30,208.89 in 2013, of which $28,130.40 was commission and $2,078.49

    was tips. Plaintiff was paid $23,544.71 in 2014, of which $22,250.00 was commissions and

    $1,294.71 was tips. However, AVNS has only recorded the amount of tips that customers paid

    with credit cards. Plaintiff may have taken tips in cash that she did not report. Plaintiff also

    received Christmas bonuses in 2012 and 2013, which was a few hundred dollars. Plaintiff did not

    work at AVNS in 2011 or 2015.

           10.     Describe in detail Plaintiff’s work schedule with Defendant including the number

    of hours worked each week, the person(s) responsible for setting the work schedule, and the ability

    of Plaintiff to set her own hours.

           ANSWER:

           AVNS never set the schedule for Plaintiff. Plaintiff always set her own schedule. Plaintiff

    often worked Wednesday through Sunday, but this was her personal choice. She was not required

    to work that schedule and she chose that schedule herself. Plaintiff had no set hours and could

    come and go as she pleased. For example, if she wanted, Plaintiff could leave in the middle of the

    day and spend the rest of the day shopping. AVNS did not record the hours that Plaintiff worked

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    each week, and, because Plaintiff was free to work whenever she pleased, AVNS cannot say with

    precision the number of hours that she worked each week.

           11.     List all supervisors to whom Plaintiff was required to report to while working at

    Anthony Vince’ Nail Spa, LLC and for each person, describe their oversight including their control

    of the manner and means in which Plaintiff performed nail services and beauty services.

           ANSWER:

           See response to Interrogatory #3.

           12.     Describe in detail any rules and regulations for nail technicians set by defendant

    while Plaintiff worked at Anthony Vince’ Nail Spa, LLC.

           ANSWER:

           The answer to this interrogatory can be gleaned from the documents entitled “Salon Rules”

    and “Salon Reminders,” which are located at Bates Nos. AVNS000644-645. Fed. R. Civ. P. 33(d)

    (permitting a party to produce business records in response to an interrogatory if the burden of

    ascertaining the answer from the documents is substantially the same for either party).

           13.     If you are contending that Plaintiff was an independent contractor, please provide

    all facts, evidence, or circumstances the Defendant believes support this contention. For each

    allegation of fact, please provide all witnesses that can provide testimonial support to said fact or

    contention that Plaintiff was providing services as an independent contractor.

           ANSWER:

           Defendant contends that Plaintiff was an independent contractor because she had the

    authority to control her work activities. Plaintiff was free to set her own schedule, including the

    days and hours that she worked. She could leave the premises and returned as she pleased. While

    Plaintiff was provided a pager, the pager was only to contact Plaintiff and ask her if she wanted to

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    work while she was off the premises. Plaintiff was always free to refuse those requests. Plaintiff

    was also an independent contractor because she independently determined how to carry out her

    work activities. Plaintiff was provided little direction on how to service her customers by AVNS.

    Plaintiff also independently paid her taxes. Plaintiff could also independently schedule her own

    appointments. Customers could call Plaintiff directly to schedule an appointment with her.

    Plaintiff could also independently reschedule her appointments. Additionally, because Plaintiff

    was paid entirely on commissions earned while working, Plaintiff exercised significant control

    over her earnings by deciding how many customers she serviced.

           Plaintiff was also a highly skilled worker. Plaintiff has a nail technician license issued by

    the state of Florida. To receive the license, Plaintiff was required, by Florida law, to complete 240

    hours of courses and training at an accredited cosmetology school and pass a licensing exam.

    Plaintiff’s level of training and skill indicates independent contractor status. Plaintiff did not

    receive any training from AVNS. She came to AVNS already trained and skilled in the nail

    technician profession.

           The witnesses that can provide support for these facts are Hoang Nguyen, Trong Tang, and

    Jimmy Nguyen.




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                                                       By:      /s/ Frank H Henry
                                                             Frank H. Henry
                                                             Florida Bar No. 956554
                                                             Daniel Gonzalez
                                                             Florida Bar No. 118696


                                       CERTIFICATE OF SERVICE

           I hereby certify that I served the foregoing via electronic mail to the persons on the attached

    service list on May 22, 2017.


                                                            /s/ Frank H. Henry
                                                       Frank H. Henry




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                     PLAINTIFF’S OVERTIME DAMAGES CALCULATIONS
                                                                                            TOTAL WAGES
                      Wages Earned Wages                 Plaintiff's                        EARNED AT        TOTAL WAGES
                      under        Paid after            Proposed       Regular             FLUCTUATING      OWED AT
    WORKWEEK          commission deductions Kick-back Hours             Rate per Overtime REGULAR            FLUCTUATING
    PERIOD            plan         /fines      Amount    worked         week      Rate      RATE/WK          REGULAR RATE
    10/18/13-10/24/13          597      594.62      2.38             53    $11.22    $16.83 $       667.55               72.93
    10/25/13-10/31/13        610.2      602.75      7.45             53    $11.37    $17.06 $       676.67               73.92
    11/1/13-11/7/13          651.6      642.54      9.06             53    $12.12    $18.19 $       721.34               78.80
    11/8/13-11/14/13         568.2      565.26      2.94             53    $10.67    $16.00 $       634.58               69.32
    11/15/13-11/21/13          567      559.13      7.87             53    $10.55    $15.82 $       627.70               68.57
    11/22/13-11/28/13        929.4      926.04      3.36             53    $17.47    $26.21 $     1,042.88             116.84
    11/29/13-12/5/13         594.6       591.1       3.5             53    $11.15    $16.73 $       663.59               72.49
    12/6/13-12/12/13         547.2      544.33      2.87             53    $10.27    $15.41 $       611.09               66.76
    12/13/13-12/19/13        446.4      438.74      7.66             30    $14.62    $21.94 $       584.99             146.25
    12/20/13-12/26/13       1135.2     1130.93      4.27             53    $21.34    $32.01 $     1,285.15             154.22
    12/27/13-1/2/14           1002      998.64      3.36             53    $18.84    $28.26 $     1,124.64             126.00
    1/3/14-1/9/14            582.6      577.64      4.96             53    $10.90    $16.35 $       648.48               70.84
    1/10/14-1/16/14            678       672.3       5.7             53    $12.68    $19.03 $       754.75               82.45
    1/17/14-1/23/14          575.4      568.14      7.26             53    $10.72    $16.08 $       637.82               69.68
    1/24/14-1/30/14          523.8      521.07      2.73           41.5    $12.56    $18.83 $       530.49                9.42
    1/31/14-2/6/14             663      658.87      4.13           41.5    $15.88    $23.81 $       670.78               11.91
    2/7/14-2/13/14           828.6      822.44      6.16             53    $15.52    $23.28 $       923.31             100.87
    2/14/14-2/20/14          496.8      492.81      3.99             30    $16.43    $24.64 $       657.08             164.27
    2/21/14-2/27/14            576      573.41      2.59             30    $19.11    $28.67 $       764.55             191.14
    2/28/14-3/6/14            1062      1055.4       6.6             53    $19.91    $29.87 $     1,184.84             129.44
    3/7/14-3/13/14            1020     1014.26      5.74             53    $19.14    $28.71 $     1,138.65             124.39
    3/14/14-3/20/14          982.2      976.39      5.81             53    $18.42    $27.63 $     1,096.14             119.75
    3/21/14-3/27/14            777      774.41      2.59             53    $14.61    $21.92 $       869.38               94.97
    3/28/14-4/3/14             837      830.04      6.96             53    $15.66    $23.49 $       931.84             101.80
    4/4/14-4/10/14           636.6      629.43      7.17             46    $13.68    $20.52 $       670.48               41.05
    4/11/14-4/17/14          949.2      939.09     10.11             53    $17.72    $26.58 $     1,054.26             115.17
    4/18/14-4/24/14          757.8      754.44      3.36             46    $16.40    $24.60 $       803.64               49.20
    4/25/14-5/1/14           900.6       898.5       2.1             53    $16.95    $25.43 $     1,008.69             110.19
    5/2/14-5/8/14            899.4      894.85      4.55             53    $16.88    $25.33 $     1,004.60             109.75
    5/9/14-5/15/14             915      910.59      4.41             53    $17.18    $25.77 $     1,022.27             111.68
    5/16/14-5/22/14          929.4      922.78      6.62             53    $17.41    $26.12 $     1,035.95             113.17
    5/23/14-5/29/14         1036.8     1032.74      4.06             53    $19.49    $29.23 $     1,159.40             126.66
    5/30/14-6/5/14           931.8       926.2       5.6             53    $17.48    $26.21 $     1,039.79             113.59
    6/27/14-7/3/14             744      737.53      6.47             46    $16.03    $24.05 $       785.63               48.10
    7/4/14-7/10/14           526.8      515.61     11.19             53     $9.73    $14.59 $       578.85               63.24
    7/11/14-7/17/14          675.6      673.43      2.17             53    $12.71    $19.06 $       756.02               82.59
    7/18/14-7/24/14          708.6      704.61      3.99             53    $13.29    $19.94 $       791.02               86.41
    7/25/14-7/31/14            729      726.62      2.38             53    $13.71    $20.56 $       815.73               89.11
    8/1/14-8/7/14            820.2      815.51      4.69             53    $15.39    $23.08 $       915.53             100.02
    8/8/14-8/14/14           397.2      390.87      6.33           33.5    $11.67    $17.50 $       466.71               75.84
                                                                                            TOTAL WAGES
                                                                                            OWED                       3752.80




                                                                                                                             1
